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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON



 JULIO I. HERNANDEZ,                                 Case No. 3:19-cv-01353-IM

                Plaintiff,

        v.                                           ORDER

 COMMISSIONER OF SOCIAL
 SECURITY,

                Defendant.




IMMERGUT, District Judge.

       Plaintiff submitted a motion for attorney’s fees under 42 U.S.C. § 406(b) and supporting

materials on October 5, 2021. See ECF 21; ECF 22. Plaintiff requests attorney’s fees in the

amount of $8,664.29. ECF 21. In response, Defendant gave “substantive consideration to the

merits of Plaintiff’s request and found no basis to object. Therefore, Defendant has no objection

to this request and will defer to the Court’s assessment of the matter.” ECF 23 at 1–2.




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       After considering Plaintiff’s briefing and supporting materials, and Defendant’s response,

this Court hereby ORDERS that fees in the amount of $8,664.29 shall be awarded to Plaintiff’s

attorney under 42 U.S.C. § 406(b), subject to an offset of $4,453.93 for previously paid EAJA

fees. See ECF 20. When issuing the § 406(b) check for payment to Plaintiff’s attorney, this Court

directs the Commissioner to subtract the amount awarded under the EAJA and send the balance

of $4,210.36, less any applicable processing or user fees prescribed by statute, to Plaintiff’s

attorney D. James Tree at 3711 Englewood Avenue, Yakima, Washington 98902.



       IT IS SO ORDERED.

       DATED this 2nd day of December, 2021.


                                                      /s/ Karin J. Immergut
                                                      Karin J. Immergut
                                                      United States District Judge




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